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     Patrick K. Hanly (SBN 128521)
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 2   Telephone: (916) 773-2211
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 3
     Attorney for Defendant
 4   RAJINDER DHILLON
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                          )   Case No: 12-0300 MCE
                                                        )
11                 Plaintiff,                           )   STIPULATION AND ORDER RE EARLY
                                                        )   TERMINATION OF PROBATION
12          vs.                                         )
                                                        )
13   RAJINDER KAUR DHILLON I,                           )   Date: N/A
                                                        )   Time: N/A
14                 Defendant.                           )   Courtroom: Honorable MORRISON C.
                                                        )   ENGLAND JR.
15                                                      )
                                                        )
16                                                      )
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            It is hereby stipulated by and between the parties and their respective counsel, Assistant U.S.
19
     Attorney Jared Dolan for the United States and Patrick K. Hanly for the defendant, RAJINDER KAUR
20
     DHILLON (“Dhillon I”), that the probation term of Mrs. Dhillon may terminate early as of the date of
21
     the Court signing this Stipulation and Proposed Order.
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                                STIPULATION RE EARLY TERMINATION OF PROBATION
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 1   The Probation Officer agrees with this request.
 2                                                     UNITED STATES ATTORNEY
 3
            Dated: 4/8/2015                            by:   /s/ Jared Dolan
 4                                                           Assistant United States Attorney

 5          Dated: 4/8/2015                                  /s/ Patrick K. Hanly
                                                             Attorney for Defendant Rajinder Dhillon
 6
 7
 8
            IT IS SO ORDERED.
 9

10   Dated: April 13, 2015

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                              STIPULATION RE EARLY TERMINATION OF PROBATION
